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UNITED STATES BANKRUPTCY COURT
FOR TH'E DISTRICT OF COLORADO

In re

11380 Smith Road, LLC Case No. 19-10286 (TBM)

EIN: 46~47663 09

Chapter 7

Debtor.

RESPONSE TO 11380 SMITH ROAD INVESTMENTS, LLC’S MOTION FOR RELIEF
FROM THE AUTOMATIC STAY PURSUANT TO SECTIONS 362(D)(1) AND (4) OF
THE BANKRUPTCY CODE

The captioned debtor, l 1380 Smith Road, LLC (the “Debtor”), by and through its counsel,
Buechler & Garber, LLC, for its Response to 11380 Smith Road Investrnent LLC’s Motion for
Relief from`the Automatic Stay Pursuant to Sections 362(D)(1) and (4) of the Bankruptcy Code.

BACKGROUND

l. The Debtor initiated before this Court a `v’oluntary Petition for relief under Chapter
11 of the Bankruptcy Code on February 13, 2018 at case number 18-10965 (the “Voluntary
Case”).

2. The Debtor’s primary asset is its real property located at 11380 Smith Road,
Aurora, Colorado, 80010 (the “Property”). In association With the Property, the Debtor also has
a litigation claim With its insurance company pertain to hail damage to its roof. The repair to
the roof is at least, and likely more than a million dollar issue (the “Insurance Claim”).

3. The Debtor’s primary secured creditor is the movant, 11380 Smith Road
Investment LLC (“Lender”).

4. Counsel for the Debtor in the Voluntary Case Was Weinman & Assoeiates, PC §
(“Weinman”) and BroWn, Dunning & Walker PC (“BDW”).

5 . Pursuant to a Stipulation entered between the Debtor and the Lender in the
Voluntary Case, the Debtor had until December 31, 2018 to either sell or refinance the Property
(the “Stipulation,” Docket No. 98).

6. The Debtor failed to meet this deadline

7. The Debtor however did not cease its efforts to try to sell or refinance the Property

hoping such could be completed prior to the Lender completing its foreclosure.

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8. The Debtor failed to get the Property Sold or refinanced prior to the public trustee
sale date
9. The Debtor remained‘in contact with certain parties in interest regarding his efforts,

including Weinman, BDW and Tim Henzel/Mid American Plastic Systems (“MAPS”).

10. Among the information the Debtor shared Was he felt he was close to securing
an offer for the purchase of the Property that would result in an ability to pay creditor claims
beyond that of the claim of just the Lender - which would be the result in a foreclosure.

ll. On January 16, 2019, MAPS filed the captioned lnvoluntary Petition against the
Debtor (the “Involuntary Case”).

12. On January 18, 2019, undersigned counsel accepted service of the Subpoena for the
lnvoluntary Petition.

13. On January 23, 2019, the Debtor received an offer from Hampton Partners
Management Corp. (‘Purchaser”) to purchase the Property (the “Offer”).

14. Since such time, the Debtor and the Purchaser have been negotiating a final
purchase agreement for the Property.

15. On February 7, 2019, the Debtor and the Purchase executed the purchase agreement
attached hereto as Exhibit A (the “Sale Agreement”). The pertinent terms of the Purchase
Agreement are:

a. A purchase price of $4,500,000 (para. 3.1).

b. The Purchaser shall provide a $100,000 earnest deposit with the title company,
and an additional $100,000 upon the conclusion of the inspection period (paras.
2.1, 5.3)

c. The effective date of the Sale Agreement is upon Bankruptcy Court approval
(first, unenumerated, paragraph).

d. The is an inspection period of 30 days after the effective date of the sale
agreement (para. 5.2).

e. The closing on the sale of the Property shall occur the later of: (a) on or prior to the
date that is thirty (30) days after the expiration of the inspection period; (b) to the extent
required in either of the Bankruptcy Cases, three (3) business days after entry of an
Order by the Bankruptcy Court approving the Sale Agreement. (para. 9.1)

f. The Debtor shall maintain the Insurance Claim (para. 7.1).

g. Any broker commission is being paid by the Buyer (para. 11.2).

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16. Pursuant to the Stipulation, the Lender is owed $4,439,330.80 as of January 16,
2019. Thus, the sale price should satisfy or come close to satisfying the claim of Lender in full.

17. In addition to the Lender, additional creditors include Weinman and BDW. In
addition, the Adam’s County Treasurer’s office has contacted undersigned counsel about a
personal property tax obligation At the time of the filing of this objection, undersigned counsel
was still investigating this claim,

RESPONSE
11 USC § 362(d)(1)

18. The Debtor provides the above information so that the Court can be fully informed
of the current state of the Debtor’s sale efforts.

19. 7 The Debtor cannot dispute that the Offer from the Purchaser came in after the
deadline under the Stipulation.

20. But, it is important to note, that the offer came in only 3 weeks after such deadline

21. The Debtor is now in a position to proceed to a closing on the sale of the Property
that will allow all creditors to benefit from the sale of the Property.

22. The Lender will be paid from the sale of the Property. Other creditors will be paid
from any proceeds received from the Insurance Claim.

23. Such is a legitimate bankruptcy purpose.

24. lt is also worth noting that the Debtor never relented on his fiduciary duty to try to
maximize a return to creditors;

25. Lastly, under its current posture, the Lender will be paid, including accruing
interest, in full or nearly in hill under the sale. Thus, the Lender is adequately protected while the
bankruptcy case and sale process proceeds

11 USC §362(d)(4)

26. First, the Debtor disputes that it participated in or orchestrated the lnvoluntary Case.
The Debtor did inform parties, including MAPS, of its sale and refinance efforts.

27. Upon information and belief, MAPS made its own decisions as to how to best act
to protect its-own interests.

28. At this point in time, the Debtor has retained.new counsel to timely address the
obligations with respect to the lnvoluntary Case filed against it.

29. Given the Debtor is not the party that effectuated the case filing, it is not the party

to speak to reasons for the iiling.

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30. However, under the current posture of the case, the Debtor is proceeding with a sale

and the Insurance Claim to maximize its return to creditors.

DATED February 7, 2019

Respectfully submitted,
BUECHLER & _GARBER, LLC

/s/Aaron A. Garber

 

Aaron A. Garber, #36099

999 18th Street, Suite 1230-8
Denver, Colorado 80202

720-3 81-0045 / 720-381-0382 FAX
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EXHIBIT A

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PURCHASE AGREEMENT

'IHIS PURCHASE AGREEMENT (“Agreement”), dated the guam day of _W ,
2019 , is by and between 11380 Smith Rd LLC, a Colorado iimited liability company (“Seller”), and
Hampton Partners Management Corp., a Colorado corporation and/or permitted assigns
(“Purchaser”). The “Effective Date” of this Agreement shall be upon approval ofthis Agreement by the
United States Bankruptcy Court for the District of Colorado.

RECITALS

_ A. .Defined terms are indicated by initial capital letters Defined tenns shall have the
meaning set forth herein, whether or not such terms are used before or after the definitions are set forth.

' B. Seller wishes to sell to Purchaser and Purchaser wishes to acquire from Seller, the
Property (detined below) on the tieran and conditions set forth in this Agreement.

C. ‘ Seller filed for relief under C.hapter ll of the Bankruptcy Code on Febmaiy 13, 2018 in
the United Siates Bankru_ptcy Court for the District of Colo_rado, Case No. 18~.10965 (the “Voiuntary
Case”). A PIan of Reorganization was continued in the Voluntary Case on October 31, 2018.

D. On January 16, 2019, an lnvoluntary Petition for bankruptcy was filed against the Seiler
(the “Involuntaiy Case”).. An answer to the lnvoluntary Petition is due on or around February 6, 2019.
The Voluntary Case and hivoiunta'ry Case are hereinafier referred to as the Bankruptey Cases.

AGREEI\/[ENT

-ARTICLE I~
PROPERTY

A.. That certain real property located at 11380 E. Smith Road, Aurora, Colorado
80010, legally described on Exhibit A attached hereto and incorporated herein, together with ali rights-
0f`-way, privileges appurtenances, reservations, hereditaments, strips, minerals, water and air rights, sand,

B. All improvements, bui`ldings, structures_, fixtures, and amenities in connection
with such improvements located on the Real Property (collectively “Impmvements”);

. C. All attached fixmres, equipment, machinery and all other personal property
located on or in, or used in the operation of, the Real Property and/or {mprovements (collectively

“Personal Property”);

D. All contracts or agreements for service, repair, maintenance supply and all other
contracts relating to the operation or maintenance of the Real Property, tmprovements or Personal
Property, to the extent legally assignable, and to the extent Purchaser elects to assume the same pursuant

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to the terms of this Agreement (collectively “Serw°ce Contracts”); and

E. All signage, trade names, contract rights, warranties and guarantees directly
associated With the Real Property and improvements (“Intangib|es”).

l.2 All of the foregoing Real Property, lmprovements, Personal Property, Service Contracts,
and Intangibles are hereinali:er collectively called the “Property,”

-ARTICLE II-
EARNEST MONEY

2.1 Earnest Money Depgsit, Within three (3) days after the Effective Date, Purchaser shall deposit
earliest money in the amount of $100,000.00 in good hinds (together with all accrued interest thereon, and
any Additional Deposit (ad defined herein), collectively, the “Earnest Mooey”), which shall be held by
Land Title Guarantee Company (“Title Colnpany”), attention Tom Blake, Ph: 303-331~623 7, Email:
tblake@ltgc.com, as provided herein, in an interest-bearing account with a federally insured lending
institution The Earnest Money shall become nonrefundable to Purchaser only as provided in this
Agreeinent. In the event Purchaser fails to timely deposit the Earnest Money, then Seller’s sole and
exclusive remedy therefor shall be to terminate this Agreement in writing to Purchaser after first
providing Purchaser with written notice of such failure and two (2) days after Purchaser’s receipt (or
deemed receipt pursuant to the notice provisions herein) of such notice to cure

-ARTICLE III-
PURCHASE PRICE

-ARTICLE IV-
TITLE

4.1 Title Commitmeni_;, Survey and Review.

Documents”).

B. = Survey. Seller has provided Purchaser an ALTA survey of the Property dated
August 15, 2016 (the “Survey”). The Survey will contain the ALTA table items reasonably selected by
Purchaser and its lender (if any), and will be certified to Purchaser, Purchaser’s permitted assigns,
Purchaser’s lender {it` any) and the Ti'tle Company- Any update necessary for Purchase and its lender (if

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any) will be at Purchaser’s expense

C. Title Review and Perrnitted Exceptions. Purchaser may review the Title

' Docurnents, and the Survey as part of its investigations hereunder and will have
the right to negotiate directly with the Title Company in order to cause the Title Company to modify the
Title Commitment to reflect only those exceptions to title that are acceptable to Purchaser, subject to
Seller’s obligations hereunder. Notwithstanding the foregoing or any other term or provision herein to the
contrary, Seller will cause any and all monetary liens and encumbrances that currently affect the Property,
or any portion thereof, or that could later affect the Purchaser or the Property, or any portion thereof,
related in any way to Seller’s ownership of the Property or that arose or accrued at any time prior to
Closing, to be extinguished and fully released prior to Closing, except only the lien for real property taxes
and assessments that are not yet due and payable The term “Permitted Exceptions” as used in this

. -ARTICLE V-
INSPECTION & FI.NANCING

5.1 Deliveg; of Evaluation Materials. Within five (5) business days after the Effective Date

Seller shall deliver to Purchaser copies of the following items or information that are in Seller’s
possession or control (collectively, the “Evaluation Materials”): All documents, records or other
information relating to the Property and its operations that are necessary for Purchaser to perform the Due
Diligence (defined below), including, without limitation the following:

(i) Site plans;

(ii) B'uilding plans;

(iii) Environmental reports;

(iv) Soll reports;

('v) ADA reports;

(vi) Flans and specifications for the Ixnprovements;

(vii) Construction and building permits;

(viii) Development agreements;

(ix) Utility permits;

(x) Service and maintenance contracts; and

(Xi) insurance policies

(xii) All documentation and correspondence regarding current roof claim and
pending settlement

In addition to the foregoing, Seller will promptly furnish to Purchaser any other
documents or information reasonably requested by Purchaser.

5.2 Inspection Period. From the Effective .Date until 5:00 pm, local time at the Property on
the date that is thirty (30) days following the Effective Date (the “Inspection Period”), Purchaser shall
have access to the Property to exarnine, inspect and investigate the Property and the Evaiuation Materials
and to review any and all matters affecting or relating to the Property or this transaction (suc.h actions by

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Purchaser are collectively referred to herein as “l)ue Diligence”), to determine the feasibility of this
transaction and the suitability of the Property for Purchaser’s purposes Dnring its Due Diligence,
Purchaser must give Seller at least twenty-four (24) hours’ notice prior to performing any intrusive
inspection or test (e.g., core sampling}. Purchaser agrees to indemnify and hold Seller harmless from any
and all damages or injury to Se_ller or the Property caused by Purchaser or its agents or contractors in
performing its Due Diligence.

5.3 Tennination. Purchaser shall have until the expiration of the Inspection Period to elect,
in its sole and unfettered discretion, in writing to Seller, to either (a) purchase the Property; or (b)
terminate this Agreement (“Inspection Termination Notice”). in the event Purchaser timely delivers the
inspection Tennination Notice, this Agreement shall terminate, both parties will be relieved of any further
obligations hereunder, except for those obligations which expressly survive any termination hereof, and
the Eamest Money shall be returned to Purchaser. In the event Purchaser fails to timely deliver the
inspection Tennination Notice, Purchaser shall be deemed to have elected not to terminate pursuant to (a)
above, in which case this Agreement shall remain in full force and effect and, within five (5) days of the
expiration of the Inspection Period, Purchaser shall tender an additional Eamest Money deposit of
$100,000.00 to the Title Company (“Additional Deposit”).

-AR'I`ICLEl VI-
REPRESENTATIONS

6.1 Seller’s Renresentations and Warranties. Scller represents and warrants to Purchaser as
of the Eli_`ective Date and again as of the Closing Date, as follows:

A. Authority. Seller is duly organized, validly existing and in good standing as a
limited liability company under the laws of Colorado, authorized to transact business in the State of
Colorado, and has full power and authority to enter into and consummate the terms of this Agreement,
subject to any required Bankruptcy Court approval;

B. Litigation. There is no litigation, suit, action, proceeding or investigation,
arbitration proceeding or eminent domain proceeding, pending, or, to the best of Seller’s knowledge,
threatened, at law or in equity, before any federal or state court or any governmental department,
commission, board, bureau or instrumentality against the Seller or the Property, or any portion thereof or
the operation or management thereof by Seller except for: (i) the Bankruptcy Cases, and (ii) the public
trustee sale of the Real Property in Adams county that is stayed as a result of the lnvoluntary Case; and
(iii) the Insurance Claim;

` C. Leases. There arc no leases or tenancy rights that exist with respect to the

 

Property;

D. No Blocked Pa_er. Seller is currently in compliance with and shall at all times
prior to Closing remain in compliance with the regulations of the Oflice of Foreign Assets Control
(“OFAC”) (includlng those named in OFAC’s Spec_ially Designated and Blocked Persons list) and any
statute, executive order (including the September 24, 2001, Exeeutive Order Blocking Property and
Prohibiting 'l`ransactions with Persons Who Commit, Threaten to Commit, or Support Terrorisrn), or
other governmental action and is not and will not engage in any dealings or transactions or be otherwise
associated With such persons or entities;

E. Service Contracts'. The Service Contracts, if any, are in full force and effect and

neither Seller nor, to the best of Seller’s knowledge any other party, is in default in any material respect
under any of the S-ervice Contracts; The Selier represents that there are no Service Contracts.

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F. No Preemptive Rigl;ts. The Seller has not granted any option or right of first
refusal or first opportunity to any party to acquire or lease any interest in any of the Property; and

G. Hazardous Materials. Except as may be disclosed to Purchaser in any
environmental reports delivered by Seller to Purchaser as part of the Evaluation Materials, no hazardous
material or contamination (as those terms are used or defined in any applicable state or federal law) is
contained within or located at or under the Propert .

 

H. ,SLn/ivai. Seller’s foregoing representations and warranties will survive Closing
for a period of two (2)` years.

6.2 Nature of Conveyance. Except for the foregoing express representations and warranties
and any warranties of Seller in the Deed, Bili of Sale, or other closing documents, SELLER MAKES NO
REPRESENTAT.IONS OR WARRANT[ES OF ANY NATURE CONCERN ING THE PROPERTY.
INS'}`EAD, THE PROPERTY WILL BE CONVEYBD IN ITS “AS-IS” CONDITION, AND WITH ALL
FAULTS. WlTHOUT _LIMYI`H‘~IG THE GENERALI'I`Y OF THE FOREGOING, SELLER DISCLAIMS
ALL W`ARRANTIES CONCERN}NG THE MERCHANTAB[LITY, FITNESS FOR A PARTICULAR
PURPOSE, QUALITY, CONDITION, SIZE, VALUE, SU`ITABILITY, LBGAL ENTITLEMENT
STATUS, AND BOUNDARY LOCAT{ONS OF THE PROPERTY.

6.3 Purchaser’s Representations and Waxranties. Purchaser represents and warrants to

Seller, as of the Effective Date and again as of the Closing Date, as follows:

A. Organization and Standing. Purchaser is duly organized, validly existing and in
good standing as a corporation under the laws of Colorado, authorized to transact business in the State of
Colorado, and has hill power and authority to enter into and consummate the terms of this Agreement.

B. Litigation. There are no actions, suits, proceedings or investigations arbitration
proceedings or eminent domain proceedings pending or, to the best of Purchaser’s knowledge threatened,
at law or in equity, before any federal or state court or any governmental department, commission, board,
bureau or instrumentality against Purchaser which would prevent Pulchaser from consummatng the
transaction contemplated herein.

C. No Biocked PU. Purchaser is currently in compliance with and shall at all
times prior to Closing remain in compliance with the regulations of OFAC (incl.uding those named in
OFAC’s Speeially Designated and Blocked Persons list) and any statute, executive order (inciuding the

-ARTICL`E VII-
COVENANTS

7.l Covenants.

A. Property Imp_rovements. Except as otherwise expressly provided herein with
regards to the items described in Sections 7.1A(i) and (ii), on or prior to the expiration of the Inspection
Period, Seller shall, at Seller’s cost and expense:

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(iii) .Remove all debris, loose construction material, equipment and any other
items not attached to floor or walls and broom clean the following areas: Front main
oftice area; mezzanine office area, shop/maintenance room; and warehouse/shop area; '

(iv) Remove all debris, loose construction 'material, equipment, pallets and
any other items present, and broom clean the alley located on the west side of the
PIOP€HY;

(v) \Remove plastic sheeting and wood slats from sides of awning structure
and remove all equipment and debris within the area of the south side awning and
sheltered area; and

(vi) Remove all debris, material, equipment, pallets, chemicals, cleaners,
paint, fuels, and byproducts, together With everything inclusive in general cleanup of the
Property.

(vii) Remove recently installed interior walls completely together with all
associated material and debris.

 

B, Mai-ntenance of Pro . Other than the foregoing Property lmprovements,
Seller shall continue to maintain_and otherwise operate the Property through the Closing Date in
substantially the same manner as the same has been operated by Sell.er prior to the Effective Date.

C- Leases. Seller covenants and agrees that from the Eft`ective Date until the
Closing (or the earlier termination of this Agreement), Seller will not enter into any leases or occupancy
agreements without the prior, written consent of Purchaser, in Purchaser’s sole discretion

-ARTICLE VlII-
DAMAGE, DESTRUCTION OR CONDEMNATION

8.1 Condemnation. lf prior to Closing, Seller receives knowledge that all or any portion of
the Real Property is to be taken under any power of eminent domain or similar action, Seller shall
promptly notify Purchaser and Purchaser shall have fifteen (15) days after its receipt of such notice, by
written notice to Seller, to elect to either (a) take title to the Real Property at Closing, in Which event

8.2 Darnage by §asnalty. lt is the intention of the parties that the risk of loss from damage or
casualty related to the Property shall be Seller’s prior to Closing. Seller shall promptly notify Purchaser
of any damage in excess of $10,000.00 which shall occur and of Seller’s best estimate, based upon a
report of an independent engineer, of the cost to repair any such damage Ii` the Property or any portion

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thereof is damaged by fire or other casualty prior to Ciosing such that the reasonable cost of repair and
restoration of such damage with materials of like kind and quality is at or greater than $30,000.00,
Purchaser may elect to terminate this Agreement and, in such event, the Earnest Money shall be returned
to Purchaser, and thereafter neither party shall have any obligation to or right or remedy against the other,
except for obligations that expressly survive terminationl if the cost of repair and restoration is less than

»ARTICLE lX-
CLOSING

9.1 Closing Time and P[ace. The closing ot` Purchaser’s acquisition of the Property shall
occur the later of: (a) on or prior to the date that is thirty (30) days after the expiration of the lnspection
Period; (b) to the extent required in either of the Banltruptcy Cases, three (3) business days after entry of
an Order by the Bankmptcy Court approving this Agreement (“Closing” or “Closing Date”). Purchaser
may elect to close prior to such date upon providing reasonable notice to Selier and provided any requisite
_Banlcruptcy Court approval has been obtained The CIosing shall take place on such date at the oii°ices of
the Title Company or at such other time and place as the parties may mutually agree

9.2 Ciosing. The following shall occur at Closing, each requirement being an obligation of
the respective party and a condition precedent to the others and all being considered as occurring
simultaneously

A. Deed. Seller shall execute, have acknowledged and deliver to Purchaser a
general warranty deed (the “Deed”) substantially in the form of Exhibit B, attached hereto and
incorporated herein, conveying fee title to the Real Property to Purchaser subject oniy to the Permitted

Exceptions;
B. Bill of Sale, Assignment and Assumption. Seller and Purchaser shall execute and
bill of sale, assignment and assumption (the “Bill of Sale”), substantially in the
form of Exhibit C attached hereto and incorporated herein, wherein the Seller shall (i) convey to
Purchaser the Personal Property and (ii) assign to Purchaser and Purchaser shall assume nom Sel`ler, the

Intangibles and the Service C‘ontracts, if any, that Purchaser elects to assume by providing notice of such

C. FIR'PTA. Seller shall executej have acknowledged, and deliver to Purchaser a
non.~t`oreign affidavit to assure Seller’s compliance with Section 14¢5 of the lnternal Revenue Code of
1986, as amended;

D. Ori£inal Service Contracts and Other Items. Seller'shali deliver to Purchaser ali
originals of any assumed Service Contracts and any and all keys, fobs, remotes, and codes to the Property;

E. Rent Roll. Seller shall cause to be delivered to Purchaser an up-to-date Rent Roll
certified to be true and accurate as ofthe date Of`C'IOSing.

 

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F. Possession. Purchaser shall be entitled to possession of the Property immediately
upon Closing; and

 

G. Other Documents. Purchaser and Seller shall execute and deliver such other
documents as may be reasonably required by the Title Company in order to consummate the transaction
as set forth in this Agreement.

 

9.3 Qsts and Credits. This transaction shall be subject to the following allocation of costs
and credits: _

A. Seller Costs. Seller shall pay for (i) the costs of preparation of the 'l`itle
Con_lmitment and the base premium with extended coverage for the 'l`itle -Policy, (ii) one half of the
escrow and closing charges assessed by the Title Company, (iii) the tax certificate (iv) the Survey, and
(v) all use, sales, transfer, recording, Eling, excise, documentary, revenue stamp and similar fees and
taxes payable in connection With the transfer ofthe Property contemplated by this Agreement; and

 

B. Purchaser Costs. Purchaser shall pay for (i) the cost of any additional
endorsements or coverage to the 'l`itle Policy that are not the obligation of Seller, and any lender’s title
insurance policy and endorsements thereto; (ii) all fees, recording costs or taxes due in connection with
any Enancing obtained by Purchaser; and (iii) one half of all other escrow and closing charges assessed
by the Title Company.

9.4 Prorations. Except as specifically set forth below, the following shall be prorated
between Seller and Purchaser as of 12:00:0l a.rn.' of the day of Closing (“Adjustment Point.”): ~

A. Serviee Contracts. Costs and fees associated with the assumed Service Contracts
shall be prorated based on an average of the three most recent billing statements for such Service
Contracts. Such proration shall be considered tinal, unless either Purchaser or Seller, on or prior to sixty
(60) days alter die Closing Date, elect, by written notice to the other party, to have a final proration of
such costs and fees performed based on actual amounts billed for the month of Closing;

 

B. Utilitics. Seller shall attempt to obtain a final reading of all utilities which are the
responsibility of the Seller as owner of the Property priortto Closing and arrange to pay the final billings
directly to the appropriate utility companies Purchaser shall attempt to arrange for all such utility billing
as of the date of Closing to be billed to and paid directly by Purchaser. Furtller, Seller shall receive from
the appropriate utility companies any and all deposits and bonds made by Seller with respect to such
utilities To the extent transfer of billings is not possible as of the date of Closing, the cost of such
utilities shall be estimated and apportioned between the parties on the basis of the latest actual bill for
such services as of the Adjustment Point. This estimate shall be considered a final settlement as of
Closing unless either Purchaser or Se.ller, on or prior to sixty (60) days after the Closing Date, elect, by
written notice to the other party, to have a final proration of such costs and fees performed based on actual
amounts billed for the month of Closing;

C. Reai Property Taxes. Real property taxes for the year of Closing, shall be
prorated to the Adjustment Poiut. lf the date of Closin_g shall occur before the real property tax rate or
assessed valuation for the then-current tax year is t`ixed, real property taxes shall be prorated on the basis
of the most recently available assessment and the most recently available mill levy. This proration shall
be considered a final settlement as of Closing;

D. Other Costs. Bxcept as otherwise set forth in this Agreement, each party shall

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pay all other costs and expenses, including attorney’s fees, incurred by such party in connection with the
transactions contemplated by this Agreement; and

.E. Corrections. Any errors or omissions in computing adjustments at the Closing
shall be promptlv corrected, provided that the party seeking to correct such error or omission shall have
notified the other party of such error or omission (or, if the parties cannot agree, shall have commenced
any legal action) on or prior to the date that is ninety (90) days following the Closing Date.

-ARTICLE X~
DEFAULTS AND REMEDIES

10.1 Default by Seller. ln the event Seller defaults under this Agreement, then
Purchaser will be entitled to (a) terminate'this Agreement, in which case the Eamest Money Will be
returned to Purchaser, or (b) treat this Agreement as being in full force and effect (specit`ic performance),
and/or (c) pursue any and all other remedies available at law or in equity.

102 Default_by Purchaser. In the event Purchaser defaults under this Agreement,
Seller-may, as Seller’s_ sole and exclusive remedy there.for, terminate this Agreement and retain so much
of the Earnest Money as has been deposited at the time as liquidated damages, and, thereafter, neither

-A.RTICLE XI~
MISCELLANEOUS

business days after mailed, if sent by registered or ceniHed. United States mail, postage prepaid, or (iii) on
the same day if sent by email, or (iv) two (2) business days after receipted deposit with a reputable
overnight delivery service designated for deliver on the next succeeding business day with proof of
delivery, addressed to_ the party to receive the notice at the address set forth below or such other address

as any party may specify by notice to the other party.

If to Seiler, to: 113 80 Smith Rd LLC
Attn: Louis Hard
1880 E. Smith Rd
Aurora, CO SOOIU

Ema`il: l_ouish'ard@,comcgst.net

With a copy to: Aaron Garber
Buechler & Garber, LLC
999 18“* Street, Suite 12308
Denver, CG 30202
e~mail: aaron@bandglawoflice.com

lt` to Purchaser, to: Haznpton Pai'tners Management Corp.
Attn: Jeffrey Robinson

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201 Pillmore St., Ste 201
Denver, CO 80206
Einail: jetf@hamptonpartners.net

With a copy to: Mills Schmitz Halstead Zaloudek LLC
' ` .Attn: Amanda Halstead, Esq.
600 17‘** St., Ste 2800
Denver, CO 80202
E.mail: Al~l]i@mshzlaw.com

11.2 Brolcers. Purchaser shall pay Matt Capecelatro cf Citywide Commercial Properties, LLC,
and Rob Lockhart of Ringsby Realty Corporation a real estate commission pursuant to the terms and
provisions cf a separate written agreement Other than as set forth in this Section, no other party will be
entitled to a fee, commission or compensation in connection with the transaction contemplated by this
Agreement. Each party agrees to `mdemnify, defend and hold harmless the other party and all
shareholders employees, citicers and directors of the other party or the other party’s parent or afiiiiate
(each of the above is individually referred to ss an “Indemnitee”) from all claims, including attomey’s
fees and costs incurred by an Indemnitee as a result`of anyone>’s claiming by or through the other party
any fee, commission or compensation on account of this A,greement, its negotiation or the sale hereby
contemplated This Section shall survive Ciosing.

11.3` __ Status of Parties. The parties acknowledge their status is one of seiler and purchaser of
real estate, and nothing contained herein constitutes Selier as an agent or partner of Purchaser, or vice
versa.

11.4. Assiggable. Purchaser may, in Purchaser’s sole'discretion, assign this Agreement to any
partnership, limited liability company, or any other form of entity that is wholly or partially owned and/or
controlled by Purchaser or any one or more of Purchaser’s members Except for the foregoing, Purchaser
may not assign this Agreement without the Seller’s prior~, written consent,’ which Seiler will not
unreasonably withhold

_ 1145 Recording. Neither party shail record this Agreement nor any memorandum hereof ln
the event of such recording, the recorded document shall automatically be deemed void.

11.6 cherabil;g' . If any clause or provision of this Agreement is illegal, invalid or
unenforceable under applicable present or future laws, it is the intention of the parties that the remainder
cf this Agreem.ent shall not be affected, and in lieu of any such clause or provision, there be added as a
part hereof a substitute clause or provision as similar in terms and eHect to such iiiegal, invalid or
unenforceable clause or provision as may be possible

ll.7` Successo§ @d Assigs. lhis_Agceement shall be binding upon and inure to the-betre‘iit_
of the parties hereto and their respective successors and assigns

ll.'S Costs of Legal Proceedings. If either party institutes legal proceedings with respect to
this Agreement, the'prevailing party shail be entitled to court costs and reasonable attorneys’ fees incurred

by such party in connection with such legal proceedings
119 ‘ No Oral Modiiicatigns. No- amendments or modifications to this Agreement shall be

made or deemed to have been made unless in writing executed and delivered by the party to be bound
thereby.

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ll.lO Time of the Essence. Except as specifically provided herein, all of the provisions of this
Agreement regarding time for performance are of the essence fn the event any date specified in this
Agreemcnt falls on a weekend or holiday observed by a lending institution in the city where the Property
is located, the applicable date, including Closing shall be the next date thereatter that is not a weekend or
holiday

 

, ll.l l Governing Law. This Agreement shall be interpreted and enforced according to the laws
of the State of Colorado.

ll.lZ Headings and Captions. The headings and captions contained in this Agreement are for
convenience only and shall not be considered in interpreting the provisions hereon

l 1.13 Counterparts. This Agreement, including electronic, facsimile and emailed copies of this
Agreement, may be executed in several counterparts_, each of which shall be deemed an original but all of
which shall constitute one and the same instrument

ll. 14 htco§p_oration. The above Rccitals are hereby incorporated herein as if hilly set forth in
this Agreement.

ll.l$ Dral`ti g. The parties hereto have participated in the drafting and negotiation of this
Agreement, and it is agreed that any claim as to ambiguity shall not be construed for or against either
party as a result of such drafting

ll.lo 1031 Exchange. Purchaser may consummate the purchase of the Property as part of a
like~kind exchange pursuant to Section 1031 of the internal Revenue Code, as amended If Purchaser
requests, the Seller agrees to reasonably cooperate With the Purchaser with respect to such exchange,
provided: (i) there shall be no delay in the Closing Date; (ii) the Purchaser shall not be released from its
obligations under this Agreement if the exchange fails to occur for any reason and the Purchaser shall
remain obligated to purchase or sell the Property; (iii) the Sellcr does not assume any additional liabilities
or-obligations or any personal liability as a result of the exchange or attempted exchange; and (iv) the
Seller will not be obligated to take title to any other property pursuant to any such exchange The terms
and provisions of this Section shall survive Closing.

ll.l7 Marketing. Seller may continue to market the Property for sale or refinance of the Real
Property the earlier of i) the Closing; or (ii) Bankruptcy Court approval of this Agreemcnt.

ll..18 Bankruptcy Court »Ap_proval, To the extent required in either of the Bankruptcy Cases,
counsel shall within live business days of execution of this Agreement by all parties seek Banlcruptcy
Court approval of this Agreement pursuant to ll U.S.C. § 363(t) tree and clear of all liens, claims and
encumbrances This Agreement is subject to higher and better offers until such time as the
Bankruptcy Court enters an order approving this Agreement (the Eii`ective Date) and thereafter
shall become a binding agreement in the event that such approval is not received within forty (40)
days of the date hereof, this Agreement shall be void and of no force or effect

l l.l9 Fore.ciosure. ln the event that the Property is foreclosed upon prior to the Closing, this
Agreement shall terminate and the Earnest Money shall be promptly relianded to Purchaser.

[SIGNA'I`URES ON FDLLOWING PAGE]

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IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first
above written.

PURQMSER:

Hampton Partners Management Corp., a Colorado corporation

 

 

§_E_LLER:

11380 Smith Rd LLC, a Colorado fimited liability company

w w

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IEND OF SIGNA'I'URES}

 

 

 

 

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Exlxibit A

I°_E"_MM

_(Legal Description)

County of Adams
State of Colorado

Commonly known as: 11380 E. Smith Road, Aurora, Colorado 80010.

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Exhibit B
To Purchase Agreement

(Fnrm of General Warranty Deed)
AFTER RBCO.RDIN_G MAlL TO:
Hampton Partners Management Corp.
Attn: JeFfrey Robinson
201 Fillmo.re St., Ste 201
Denver, CO 80206

GENERAL WARRANTY DEED

THIS DEED, dated , 2019, between 11380 Smith Rd LLC, a Colorado limited

liability company (“Grant'or”), and (“Granwe” , whose legal
address is :

 

WITNESS, that the Grantor, for and in consideration of the sum of Ten and 110/100 Dollars
($10.00), the receipt and sufficiency of which is hereby acknowledged, has granted, bargained, sold and
conveyed, and by these presents does grant, bargain, seil, convey and coniirm unto the Grantee, its
successors and assigns forever, all the real property, together with improvements if any, situate, lying and
being in the County of Adams and vState of Colorado, described in Exhibit A attached hereto (the

“Property”). ,

TOGETHER with ali and singular the heleditaments and appurtenances thereunto belonging, or in
anywise appertaining, the reversion and reversions, remainder and remainders, rents, issues and profits
thereof, and ali the estate, right, title, interest, claim and demand whatsoever of the Grantor, either in law or
equity, of, in and to the Property, with the heleditaments and appm'tenances, subject only to the matters set
forth in Exhibit B attached hereto and made a part hereof for all purposes;

 

 

TO H`AVE AND TO HOLD the said Property, with the appurtenances unto the Grantee, its

The singular number shall include the plural, the plural the singular, and the use of any gender shall be
applicable to all genders.

[SIGNATURE ON FOLLOWING PAGE}

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]N WI’I`NESS WH:EREOF, the Grantor has caused its name to be hereunto subscribed the day and
year first above written

GRANTOR:

 

11380 Smith Rd LLC, a Colorad_o limited liability company

 

 

 

 

By=
Name:
Title:
STATE OF )
, ' ) ss.
COUNTY GF )

The foregoing instrument Was acknowledged before me this day of ,
2019, by as of l 1380 Smith Rd LLC, a Colorado

limited liability company.

Witness my hand and official seal.

My commission expires: .

 

Notary Public

lEND OF SIGN`ATURES}

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Exhibit A

To General Warran!:y Dced
(Legal Description)

[NQTE: The following legal description will be updated in the final version at Closing to match the
legal description contained in the Title Commitmen!/

SUB:MORRIS HEIGHTS FILING NO 2 AMENDED BLK: 18 DESC: BEG AT N`W COR BLK 18 TH S
ALG W LN.SD BLK 584/69 FT TH ELY ON ANG T() LEFT GF 90D 47l/235 FT TH N.LY ON ANG
TO LEFT OF 90D 536/545 _F'I` TO NLY’ LN SD BLK TH NWLY ON ANG T() LEFT UF 84D l()M
473/69 FT TO POB EXC E 30 FT AND EXC .AR_'I` TO RTD FOR FASTRACKS (RBC NO
20]2000081138)

County of Adams
State of Colorado

Cornmonl.y known as: 11380 E. Smith Road, Aurora, Colorado 80010.

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Exhihit B

To General Warran§y; Deed
(Permitted Exceptious)

[To be completed in the final version at Closing listing ihe Permitted Exceptions accepted by purchaser
pursuant to the Agreemem'.]

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Exhihit C
To Purchase A reement
(Bill of S`ale)

BILL OF SALE ASSIGNl\rIENT AND ASSUMPTION
_…

THlS BILL OF SALE, ASSIGNMENT AND ASSUMPTION (this “Bill of Sale”) is made as of
the day of 2019, by and between 11380 Smith Rd LLC, a Colorado

limited liability company (“Assignor”), and (“Assignee”).
WITNESSETH:

For good and valuable consideration receipt and sufficiency of which are hereby acknowledged
Assignor and Assignee hereby agree as follows:

l. Assignor hereby sells, transfers assigns and conveys to Assignee the following, free and
clear of all liens and encumbrances of any kinds

A. The tangine personal property (“Persona]ty”) set forth in the inventory on
Schednle 1 attached hereto and made a part hereof and located in or on or used in connection with that
certain land and improvements commonly known as 11380 E. Smith Road, Aurora, Colorado 80010 (the
“Real Property”);

 

B. The contracts set forth on Schedule 2 attached hereto and made a part hereof (the
“Service Contracts”).

 

C. All intangible personal property related to the Real Property (the “Intangible
Personal Property”);

D. Any and all rights in and to Claim No. ._ filed with

and relating to the roof of the Property.

 

 

'IU HAVE AND TO HGLD the foregoing described property unto Assignee, its successors and
assigns forever.

2. Assignor represents and warrants to Assignee that, other than the Service Contracts, there
are no other contracts agreements tenancies or third-party rights, that affect the Reai Property or that
could be binding on Assignee after the date hereo .

3. Assignee hereby accepts the assignment of the Service Contracts and agrees to assume
and discharge in accordance with the terms thereof, all of the obligations thereunder arising from and
after the date hereof Assignor indenmiiies, defends and holds harmless Assignee from and against any
and all claims, causes of action, demands, liabilities losses, costs and expenses (inchidin , without
limitation, reasonable attorneys’ fees and court costs) related to (a) Assignor*s ownership of or
obligations under the .Pe_rsonaity, Service Contracts, and Intangible Personal Property, and (b) Assignor’s
representations and warranties set forth in Paragraph 2 above Assignee indemniiies, defends and holds
harmless Assignor from and against any and all claims, causes of action, demands, liabilities losses, costs
and expenses (inclnding, without limitation, reasonable attomeys’ fees and court costs) related to
Assignee’s ownership of or obligations under the Personalty, Service Contracts, and intangible Personal

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Property from and after the date hereof, to the extent the same were assigned, conveyed and/or credited to
Assignee by Assignor. `

4, [f either party commences any suit, action or demand against the other for any breach of
this Bill of Sale, the prevailing party shall be entitled to.recover from the other party such costs and
reasonable attorneys’ fees as the prevailing party may have incurred in connection therewith

5. This Bill of Sale shall be interpreted and enforced according to the laws of the State of
Colorado. '

6. This Bill of Sale may be executed in any number of counterparts, each of Which,
including elecu'onic, facsimile and emailed copies, shall be deemed an original, but all of which shall
constitute one and the same instrumentm

7. This Bill of Sale shall inure to the benth of, and be binding upon, the respective
successors and assigns of the parties hereto.

IN WZTNESS WHEREOF, the parties hereto have executed this Bill of Sale as of the date first
above written

[signatures and exhibits to be attached toji`mll version at Closing]

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CERTIFICATE OF SERVICE

The undersigned certifies that on February 7, 2019 l served by ECF a copy of the RESPONSE
TO 11380 SMITH ROAD INVESTMENTS, LLC’S MOTION FOR RELIEF FROM THE
AUTOMATIC STAY PURSUANT TO SECTIONS 362(D)(1) AND (4) OF THE
BANKRUPTCY CODE on all parties against Whom relief is sought and those otherwise
entitled to service pursuant to FED.R.BANKR.P. and these L.B.R. at the following addresses:

 

Dunean E. Barber Robert Sarnuel Boughner

7979 E. Tufts Avenue US Trustee

Ste. 1600 Byron G. Rogers F ederal Building
Denver, CO 80237-3358 1961 Stout St. Ste. 12-200

Denver, CO 80294-6004

 

Timothy M. Swanson
1400 16th St.

6th Floor Bypassed
Denver, CO 80202

 

 

 

 

By: /s/Nichole Garber
F or Buechler & Garber, LLC

